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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                                   MIAMI DIVISION

                               CIVIL DOCKET No.: 1:17 CV 24714



 Teopisto LAVILLA                            )
        Plaintiff,                           )
                                             )
        versus                               )
                                             )
 MIAMI DADE COUNTY PARKS,                    )
 RECREATION & OPEN SPACES, a                 )
 government agency,                          )
       Defendant.                            )
                                             )
                                             )
                                             /

                         COMPLAINT AND JURY TRIAL DEMAND

        Plaintiff TEOPISTO LAVILLA, (“MR. LAVILLA”), as for his complaint, by and

 through his undersigned counsel, alleges as follows:

                                        INTRODUCTION

     1. This is an action to remedy violations of the rights of MR. LAVILLA under the Age

 Discrimination in Employment Act of 1967, 29 U.S.C. § 623 (ADEA); the Civil Rights Act of

 1964, as amended, 42 U.S.C. § 2000e et seq. (“Title VII”); and Chapter 760 of the Florida

 Statutes, the Florida Civil Rights Act (“FCRA”) to redress injury done to him by the Defendant,

 MIAMI DADE PARKS, RECREATION, & OPEN.

                                 JURISDICTION AND VENUE

     2. The jurisdiction of the Court is invoked pursuant to 28 U.S.C. § 1331 and § 1343.

 Plaintiff invokes this Court’s supplemental and pendant jurisdiction over Plaintiff’s state law



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 claims because they arise out of the same nucleus of operative facts as the federal matter, and

 pursuant to 28 U.S.C. § 1332 and § 1367.

     3. The venue of this action is properly placed in the Southern District of Florida, Miami

 Division, pursuant to 28 U.S.C. § 1391(b)(1)-(2), (c)(1)-(2), since the employment practices

 hereafter alleged to be unlawful were committed in Miami-Dade County, a geographical area

 found squarely within the Southern District of Florida. Miami Dade County operates out of its

 principal place of business in the Southern District of Florida.

     4. The unlawful employment practices alleged herein were committed in whole or in part in

 the Southern District of Florida.

                                             PARTIES

     5. Since 2001, the Plaintiff MR. LAVILLA had been employed by MIAMI DADE

 COUNTY PARKS, RECREATION, & OPEN SPACES (“MDPR” or “Defendant”). MDPR is

 an “employer” within the meaning of Title VII and the FCRA.

     6. Plaintiff served as a Park Security Guard of MDPR from date of hire through 2014, when

 he was removed from his employment duties by MDPR. At all relevant times herein, MR.

 LAVILLA was an “ employee ” of MDPR within the meaning of Title VII and the FCRA. At the

 time of his employment with MDPR, MR. LAVILLA was a 60-year old man; as such he is a

 member of a certain protected class of persons.

                               PROCEDURAL REQUIREMENTS
     7. All conditions precedent to this action have been fulfilled. Plaintiff dual-filed charges of

 discrimination with the EEOC, and also with the Florida Commission on Human Relations,

 within 300 days of the alleged violation. The U.S. Equal Employment Opportunity Commission

 (“EEOC”) and the Florida Commission on Human Relations (“FCHR”) assigned the agencies

 charge number 510-2014-02332. See Exhibit A, EEOC Charge No. 510-2014-02332. To date,

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 over six (6) months have passed since the filing of the charge. On or about September 28, 2017,

 upon request, the EEOC issued to MR. LAVILLA a Notice of Right to Sue Letter with respect to

 such charge of discrimination. See Exhibit B, EEOC Notice of Right to Sue Letter. The Notice

 of Right to Sue Letter, attached as Exhibit B, was received by undersigned several days after it

 was issued and mailed by the EEOC.

                                    STATEMENT OF FACTS

     8. MR. LAVILLA began his employment with MDPR on or about 2001, being initially

 employed as Park Security Guard for Miami Metro Zoo. Subsequently, in 2007, MR. LAVILLA

 was transferred to Deering Estates of Cutler Bay (“Deering Estate”) and worked out of the

 MDPR office located at 16701 SW 72nd Avenue, Village of Palmetto Bay, 33157 until the day he

 was terminated (“Deering Employment”).

     9. MDPR is an agency subdivision of Miami-Dade County, Florida, governed by its rules

 and chartered under the laws of the state of Florida.

     10. Miami Dade County has over 500 employees of which more than 15 are employed under

 MDPR.

     11. One of the employees of MDPR is Jennifer TISTHAMMER (“MS. TISTHAMMER”) the

 Arts & Exhibits Coordinator.

     12. At all times relevant, MS. TISTHAMMER was a supervisor for MDPR responsible for

 the staff at the Deering Estates. MS. TISTHAMMER was the direct supervisor of Paul Vitro

 (“Mr. Vitro”). Mr. Vitro, in turn, supervised Aldo Vera (“Mr. Vera”). Mr. Vera was the direct

 supervisor of MR. LAVILLA. Thus MR. LAVILLA answered to three supervisors, each

 representing MDPR when making statements to him. This was the chain of command.




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     13. As MR. LAVILLA’s most senior supervisor during most of his Deering Employment,

 MS. TISTHAMMER had the power to make personnel decisions regarding MR. LAVILLA.

     14. Throughout the Employment Period, MR. LAVILLA performed his duties for MDPR in

 a satisfactory fashion. MR. LAVILLA possessed all the required skills, training, and

 qualifications for the job in question, and performed his duties without significant issue or

 controversy.

     15. MR. LAVILLA’s duties during his Deering Employment included providing park guests

 with security, reporting incidents to his supervisors, perform tasks necessary for the safety and

 protection of park guests, and identifying and/or warning guests of certain known dangers. If a

 supervisor requested him to do something, he would do the best he could. When he asked for

 permission to do something, upon receiving notice he did as his supervisors instructed.

     16. During the time MR. LAVILLA was employed by MDPR, Plaintiff was subjected to

 unlawful acts of discrimination, a victim of harassment based on his age over the span of several

 months.

     17. The unlawful discrimination exhibited by MDPR came at the hands of his supervisor MS.

 TISTHAMMER and Mr. Vitro.

     18. MR. LAVILLA carried out his duties satisfactorily and met all requirements of his job.

     19. On or about November 8, 2013, Typhoon Yolanda struck the Philippines, substantially

 damaging the region and killing thousands of people. The official government disaster relief

 agencies placed the death toll at 6,340 with over a thousand reported missing but some estimate

 as many as 15,000 people may have died in that disaster.

     20. At all times relevant, MR. LAVILLA had family that lived in the Philippines, including

 his sister. At all times relevant, MDPR was well informed of these facts.



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     21. Shortly after the Typhoon struck the island in the Philippines, MR. LAVILLA grew very

 worried for his family because he did not hear from anyone and did not know what had happened

 to his sister. The images on the news were stark, and hundreds of people were being reported

 dead; bodies lining the streets. The days became weeks, which turned to a month and still no

 word from his family.

     22. Having not heard from his family, MR. LAVILLA began asking for time off, to go to the

 Philippines to try and discover what happened to his family and, if necessary, lay his loved ones

 to rest.

     23. First, MR. LAVILLA asked Mr. Vera. He asked Mr. Vera not less than three times

 whether he would get approval for a certain period to find his family and help them if possible.

     24. Upon information and belief, Mr. Vera promptly discussed the matter with Mr. Vitro

 who, in turn, discussed the matter with MS. TISTHAMMER conveying MR. LAVILLA’s

 request. No response was given.

     25. MR. LAVILLA purchased flights to travel to the Philippines.

     26. Having not heard from Mr. Vitro or MS. TISTHAMMER, in order formalize the request,

 Mr. Vera suggested MR. LAVILLA complete a leave requisition slip and submit it for MDPR

 review. MR. LAVILLA did as he was instructed to do, he completed the request and timely

 turned in the request to Mr. Vera who, in turn, promptly submitted the request to Mr. Vitro.

     27. The slip was submitted to Mr. Vitro on December 20, 2013. See Exhibit C, Leave of

 Absence Slip.

     28. In his request, MR. LAVILLA asked MDPR in writing for certain time period clearly

 listed as a leave of absence request. He had verbally explained to MDPR that he wanted to




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 discover the whereabouts of his missing family and, upon discovering their status, secure their

 safety or, if necessary, properly lay their remains to rest.

     29. MR. LAVILLA gave MDPR twenty (20) days of written notice of this request.

     30. Prior to the written request, MR. LAVILLA had given MDPR approximately two (2)

 months notice of MR. LAVILLA’s request for leave to help his family in this most trying time.

     31. The certain leave period requested was January 9, 2014 through March 19, 2014 with an

 expected return to work date of March 20, 2014.

     32. Given the circumstances described in paragraphs 18 thru 31, MDPR had a duty to

 promptly approve and/or deny the leave of absence request and notify MR. LAVILLA of its

 decision before the anticipated date of departure.

     33. On January 8, 2014, MR. LAVILLA gathered his possessions and promptly flew to the

 Philippines to help his sister and family through this devastating time. On January 9, 2014, MR.

 LAVILLA took his first day of his leave, believing the requested leave to have been authorized.

     34. MDPR did not timely notify MR. LAVILLA of its decision regarding his requested leave

 of absence, only choosing to deny the request after he left.

     35. At all times material between November 8, 2013 through March 31, 2014, in light of the

 circumstances

            a. MR. LAVILLA felt the lack of response from MDPR was not right, and he was in

        anguish as a result of Mr. Vitro and/or MS. TISTHAMMER not promptly responding

        with MDPR’s decision about MR. LAVILLA’s leave request;

            b. Mr. Vera knew it was not right, in fact cruel, for Mr. Vitro and/or MS.

        TISTHAMMER to not promptly respond with MDPR’s decision about MR. LAVILLA’s

        leave request;



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          c. Mr. Vitro knew or should have known the lack of response from MDPR was not

       right, reckless in fact, or in the alternative it was his purposeful intent to be cruel, when

       he willfully ignored MR. LAVILLA’s leave request and/or withheld MDPR’s decision

       about MR. LAVILLA’s leave request from;

          d. Mr. Vitro knew or should have known the lack of response from MDPR was not

       right, reckless in fact, or in the alternative it was his purposeful intent to be cruel, when

       he chose to not promptly respond with MDPR’s decision about MR. LAVILLA’s leave

       request;

          e. MS. TISTHAMMER knew or should have known the lack of response from

       MDPR was not right, reckless in fact, or in the alternative it was her purposeful intent to

       be cruel, when she willfully ignored MR. LAVILLA’s leave request and/or withheld

       MDPR’s decision about MR. LAVILLA’s leave request;

          f. MS. TISTHAMMER knew or should have known the lack of response from

       MDPR was not right, reckless in fact, or in the alternative it was her purposeful intent to

       be cruel, when she chose to not promptly respond with MDPR’s decision about MR.

       LAVILLA’s leave request;

          g. MS. TISTHAMMER knew or should have known the statements she made during

       MR. LAVILLA’s leave demonstrated an unlawful purpose to discriminate; and

          h. Mr. Vitro and MS. TISTHAMMER knew or should have known the level of

       cruelty associated with not timely and promptly advising MR. LAVILLA of his leave

       request, when combined with his termination and the facts alleged in subparagraph a. thru

       g. of this paragraph, rise to the level of harassment in the workplace.




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 This knowledge listed in this paragraph subsection a. thru h. was, at all times relevant, imputed

 upon MDPR.

     36. In the alternative to paragraph 34, MR. LAVILLA belief that MDPR authorized his leave

 was reasonable under the circumstances given that MR. LAVILLA was told by Mr. Vera to go

 see his sister.

     37. During MR. LAVILLA’s absence and contemporaneously with his return, Mr. Vera

 heard MS. TISTHAMMER say several things that were very troubling. For example, during staff

 meetings, certain statements were made by MS. TISTHAMMER that expressly demonstrate

 discriminatory intent of MDPR against MR. LAVILLA. MS. TISTHAMMER told Mr. Vera, and

 certain others present:

             a. “You don’t have to ask me what it is I think of the security staff/department. I

         would put them all in front of a firing squad and I would get rid of them all”; and

             b. To Mr. Vera directly, “You should not keep hiring from a pool of retired

         employees.”

     38. Upon returning, MR. LAVILLA was first informed that MDPR’s had not approved his

 leave request.

     39. Then Mr. Vera informed MR. LAVILLA of MS. TISTHAMMER’s statements and

 suggested he speak with the EEOC.

     40. MR. LAVILLA sought the assistance of the EEOC in order to file a charge against

 MDPR.

     41. MDPR, by and through its agent MS. TISTHAMMER, terminated MR. LAVILLA’s

 employment shortly after his return from the Philippines.




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     42. MDPR sat on the written request until they knew that MR. LAVILLA had left to the

 Philippines before choosing to deny MR. LAVILLA’s leave request.

     43. MR. LAVILLA attempted to resolve these issues with MDPR upon his return to no avail.

 Pleading for his job back, he found a dispassionate ear as MS. TISTHAMMER’s plan to cast out

 the 60-year-old MR. LAVILLA had reached its conclusion much to her satisfaction.

     44. MR. LAVILLA filed his charge with the EEOC.

     45. MR. LAVILLA now brings suit in this United States District Court, for the Southern

 District of Florida.

 COUNT I:
         UNLAWFUL VIOLATION OF THE ADEA,
         29 U.S.C. § 623; DISCRIMINATION BASED ON AGE.

     46. Plaintiff re-adopts each and every allegation as stated in paragraphs 1 through 45 above

 as if set out in full herein.

     47. MDPR employed MR. LAVILLA as a Park Security Guard between 2001 through March

 of 2014.

     48. At all times material, MDPR failed to comply with the ADEA, 29 U.S.C. § 623(a) et seq.

 as amended which states, in relevant part:

         (a) Employment Practices
         It shall be unlawful for an employer—
                   (1) to fail or refuse to hire or to discharge any individual or otherwise
         discriminate against any individual with respect to his compensation, terms, conditions,
         or privileges of employment, because of such individual’s age;
                   (2) to limit, segregate, or classify his employees in any way which would deprive
         or tend to deprive any individual of employment opportunities or otherwise adversely
         affect his status as an employee, because of such individual’s age; or
                   (3) to reduce the wage rate of any employee in order to comply with this chapter.

 29 U.S.C. § 623(a)(1)-(3) (2014).

     49. The discrimination of MR. LAVILLA by MDPR was caused by MDPR being aware of

 MR. LAVILLA’s age.

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      50. At all times relevant, including the time of discrimination, MDPR was aware that

  Plaintiff was 60 years old.

      51. At the time of the unlawful discrimination, MR. LAVILLA did perform and excel at the

  performance of the essential functions assigned to him by MDPR. MR. LAVILLA was qualified

  for the position apart from his age.

      52. MDPR is a sophisticated employer who has actual knowledge of the requirements of the

  ADEA, as amended.

      53. The failure of MDPR to adhere to the mandates of the ADEA was willful and its

  violations of the provisions of the ADEA were willful.

      54. MDPR, through its practices and policies as an employer, willfully, and with malicious or

  reckless disregard of MR. LAVILLA’s federally protected rights, discriminated against MR.

  LAVILLA on account of his age in violation of the ADEA with respect to its decision to treat

  MR. LAVILLA different from other employees.

      55. MR. LAVILLA’s harassment by MDPR and MR. LAVILLA’s subsequent termination

  from employment was directly and proximately caused by MDPR’s unjustified discrimination

  against MR. LAVILLA because he was 60 years old, in violation of the ADEA.

      56. Any alleged nondiscriminatory reason for the termination of MR. LAVILLA’s

  employment asserted by MDPR is a mere pretext for the actual reasons for the termination from

  employment, MR. LAVILLA’s age and complaints related to the unlawful acts of

  discrimination/harassment.

      57. MDPR’s actions were malicious and were recklessly indifferent to MR. LAVILLA’s

  rights protecting persons from discrimination due to his age. The discrimination on the basis of

  age constitutes unlawful discrimination.



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      58. As a direct and proximate result of MDPR’s intentional conduct, MR. LAVILLA has

  suffered serious economic losses as well as mental pain and suffering.

  PRAYER FOR RELIEF to COUNT I

      59. WHEREFORE, MR. LAVILLA respectfully requests that this Court order the following:

              a. Enter judgment in favor of MR. LAVILLA and against MDPR for its violations

          of the ADEA;

              b. Award MR. LAVILLA actual damages suffered, including lost wages, loss of

          fringe benefits, loss of retirement benefits, and damages;

              c. Award MR. LAVILLA compensatory damages under the ADEA for

          embarrassment, anxiety, humiliation, and emotional distress MR. LAVILLA has suffered

          and continues to suffer;

              d. Liquidated damages;

              e. Award MR. LAVILLA prejudgment interest on his damages award;

              f. Award MR. LAVILLA reasonable costs and attorney’s fees such as those powers,

          remedies, and procedures available to prevailing plaintiff pursuant to 29 U.S.C. §§ 626(b)

          & 216(b) (2014); and

              g. Grant MR. LAVILLA such other and further relief as this Court deems equitable

          and just.

  COUNT II:
          RETALIATION IN VIOLATION OF THE ADEA, 29 U.S.C. § 623(D);
          ANTI-RETALIATION PROVISION.

      60. Plaintiff re-adopts each and every allegation as stated in paragraphs 1 through 45 above

  as if set out in full herein.




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      61. MDPR employed MR. LAVILLA as a Park Security Guard between 2001 through March

  of 2014.

      62. At all times material hereto, MDPR failed to comply with the ADEA, 29 U.S.C. § 623(d),

  which states:

          It shall be unlawful for an employer to discriminate against any of his employees . . .
          because such individual . . . has opposed any practice made unlawful by this section or
          because such individual, member or applicant for membership has made a charge,
          testified, assisted, or participated in any manner in an investigation, proceeding, or
          litigation under this chapter.

  29 U.S.C. § 623(d) (2014) (emphasis added).

      63. MDPR is a sophisticated employer who has actual knowledge of the requirements of the

  ADEA, which specifically makes it unlawful to retaliate against employees who oppose or

  participate in statutorily protected activity.

      64. The failure of MDPR to adhere to the mandates of the ADEA was willful and its

  violations of the provisions of the ADEA were willful.

      65. During his Employment Period with MDPR, MR. LAVILLA suffered discrimination and

  harassment on basis of his age.

      66. MR. LAVILLA challenged the decision to terminate him due to his age.

      67. MR. LAVILLA began the process of gathering evidence to prepare a charge with the

  EEOC when he spoke with Mr. Vera and asked for the motives for his termination. Mr. Vera

  made clear MS. TISTHAMMER’s statements which triggered an investigatory and evidence

  gathering mission required to promptly file a charge.

      68. MR. LAVILLA did promptly file a charge.

      69. These acts all constituted protected activity under the ADEA, 29 U.S.C. 623.

      70. MR. LAVILLA was fired by MDPR and the termination was directly and proximately

  caused by MR. LAVILLA’s complaints about unlawful age discrimination.

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      71. Moreover, MR. LAVILLA’s termination came just in temporal proximity after MR

  LAVILLA participated in protected activity.

      72. As a direct and proximate result of MDPR’s intentional conduct, MR. LAVILLA

  suffered serious economic losses as well as mental pain and suffering.

      73. Any alleged non-discriminatory reason for terminating MR. LAVILA asserted by MDPR

  is a mere pretext for the actual reasons for termination, MR. LAVILLA’s complaints of

  discrimination and harassment because of his age.

      74. MDPR’s actions were malicious and were recklessly indifferent to MR. LAVILLA’s

  rights protecting a person from discrimination due to their age and retaliation due to their

  complaints of unlawful discrimination. Retaliation on the basis of having engaged in protected

  activity constitutes unlawful retaliation.

      75. As a result of the retaliation, MR. LAVILLA has incurred substantial monetary losses

  and has suffered emotional distress, embarrassment, and humiliation.

      76. MDPR is subject to vicarious liability for the actions of its agents because it failed to take

  adequate remedial measures to halt the discrimination, harassment, and retaliation to which MR.

  LAVILLA was subjected to despite MDPR’s knowledge that such discrimination, harassment,

  and retaliation was occurring.

  PRAYER FOR RELIEF to COUNT II

      77. WHEREFORE, MR. LAVILLA respectfully requests that this Court order the following:

             a. Enter judgment in favor of MR. LAVILLA and against MDPR for its violations

         of the ADEA;

             b. Award MR. LAVILLA actual damages suffered, including lost wages, los of

         fringe benefits, loss of retirement benefits, and damages;


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              c. Award MR. LAVILLA compensatory damages under the ADEA for

          embarrassment, anxiety, humiliation, and emotional distress MR. LAVILLA has suffered

          and continues to suffer;

              d. Liquidated damages;

              e. Award MR. LAVILLA prejudgment interest on his damages award;

              f. Award MR. LAVILLA reasonable costs and attorney’s fees such as those powers,

          remedies, and procedures available to prevailing plaintiff pursuant to 29 U.S.C. §§ 626(b)

          & 216(b) (2014); and

              g. Grant MR. LAVILLA such other and further relief as this Court deems equitable

          and just.

  COUNT III:
          VIOLATION OF THE FCRA, CHAPTER 760;
          DISCRIMINATION BASED ON AGE

      78. Plaintiff re-adopts each and every allegation as stated in paragraphs 1 through 45 above

  as if set out in full herein.

      79. At all times material hereto, MDPR failed to comply with the FCRA, section 760.10

  which states:

              It is an unlawful employment practice for an employer:
              (a) To discharge or to fail or refuse to hire any individual, or otherwise to
          discriminate against any individual with respect to compensation, terms, conditions, or
          privileges of employment, because of such individual’s . . . age . . . .

      Fla. Stat. 760.10(1)(a) (2014).

      80. MDPR’s decision to discriminate against MR. LAVILLA was because of his age.

  Alternatively, MR. LAVILLA’s age was a motivating factor that caused MDPR to discriminate

  against MR. LAVILLA.




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      81. At all relevant times aforementioned, including the time of discrimination, MDPR was

  aware that MR. LAVILLA was 60 years old.

      82. AT the time of unlawful discrimination, MR. LAVILLA did perform and excel at the

  performance of the essential functions assigned to him by MDPR.

      83. MR. LAVILLA was qualified for the position apart from his age.

      84. MR. LAVILLA was discriminated against by his supervisor MS. TISTHAMMER

  because of his age.

      85. MR. LAVILLA was discriminated against by his supervisor Mr. Vitro, because of his

  age. Alternatively, Mr. Vitro, acting at the direction of MS. TISTHAMMER, discriminated

  against MR. LAVILLA. Alternatively, Mr. Vitro chose to not prevent, or timely report, MS.

  TISTHAMMER’s discrimination resulting in MR. LAVILLA’s harassment, discrimination, and

  ultimately termination due to his age.

      86. MDPR is a sophisticated employer who has actual knowledge of the requirements of the

  FCRA, chapter 760.

      87. The failure of MDPR to adhere to the mandates of the FCRA was willful and its

  violations of the provisions of the FCRA were willful.

      88. MDPR through its practices and policies as an employer, willfully, and with malicious or

  reckless disregard of MR. LAVILLA’s State Protected Rights, discriminated against MR.

  LAVILLA because of his age, in violation of the FCRA with respect to its decision to treat MR.

  LAVILLA different from other employees.

      89. MR LAVILLA was wrongfully terminated by MDPR and MR. LAVILLA’s termination

  from employment was directly and proximately caused by MDPR’s unjustified discrimination

  against MR. LAVILLA because of MR. LAVILLA’s age.



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      90. As a direct and proximate result of MDPR’s intentional conduct, MR. LAVILLA

  suffered serious economic losses as well as mental anguish, humiliation, and pain and suffering.

      91. Any alleged nondiscriminatory reason for the termination of MR. LAVILLA’s

  employment asserted by MDPR is a mere pretext for the actual reason for the termination from

  employment, MR. LAVILLA’s age and complaints related to the unlawful acts of discrimination

  and harassment.

      92. MDPR’s actions were malicious and were recklessly indifferent to MR. LAVILLA’s

  rights protecting a person from discrimination due to his age. Discrimination on the basis of age

  constitutes unlawful discrimination in violation of the FCRA, Chapter 760.

  PRAYER FOR RELIEF to COUNT III

      93. WHEREFORE, MR. LAVILLA respectfully requests that this Court order the following:

             a. Enter judgment in favor of MR. LAVILLA and against MDPR for its violations

         of the FCRA;

             b. Award MR. LAVILLA actual damages suffered, including lost wages, los of

         fringe benefits, loss of retirement benefits, and damages;

             c. Award MR. LAVILLA compensatory damages under the FCRA for

         embarrassment, anxiety, humiliation, and emotional distress MR. LAVILLA has suffered

         and continues to suffer;

             d. Award MR. LAVILLA prejudgment interest on his damages award;

             e. Award MR. LAVILLA punitive damages according to proof;

             f. Award MR. LAVILLA reasonable costs and attorney’s fees such as remedies for

         same available under the FCRA, chapter 760, in a manner consistent with federal case

         law interpreting Title VII, pursuant to FLA. STAT. § 760.11(5) (2014); and


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              g. Grant MR. LAVILLA such other and further relief as this Court deems equitable

          and just.

  COUNT IV:
          VIOLATION OF THE FCRA, CHAPTER 760;
          FLORIDA STATUTES: RETALIATION BASED ON AGE DISCRIMINATION

      94. Plaintiff re-adopts each and every allegation as stated in paragraphs 1 through 45 above

  as if set out in full herein.

      95. This is an action against MDPR for unlawful retaliation under the FCRA, Chapter 760,

  Florida Statutes.

      96. The FCRA contains an anti-retaliation provision, forbidding employers from retaliating,

  or from taking adverse personnel action against, those employees who exercise their lawful and

  protected rights under the FCRA.

      97. The FCRA, Section 760.10(7) reads in applicable part, as follows:

               (7) It is an unlawful employment practice for an employer . . . to discriminate against
          any person because that person has opposed any practice which is an unlawful
          employment practice under this section, or because that person has made a charge,
          testified, assisted, or participated in any manner in an investigation, proceeding, or
          hearing under this section.

      FLA. STAT. § 760.10(7) (2014).

      98. MR. LAVILLA is a member of a protected class under the FCRA because of his age,

  which was 60 years old at all times relevant, and because of his participation in protected

  activities within the meaning of the FCRA.

      99. MR. LAVILLA, while working for MDPR, was subjected to discrimination and

  harassment based on age.

      100.        MR. LAVILLA was discriminated against by MS. TISTHAMMER and Mr. Vitro

  because he was 60 years old.



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      101.       In March 2014, MR. LAVILLA was fired by MDPR, and MR. LAVILLA’s firing

  was directly and proximately caused by MDPR’s unjustified discrimination and retaliation

  against MR. LAVILLA because of his complaints of unlawful discrimination and harassment in

  violation of state law.

      102.       During his Employment Period with MDPR, MR. LAVILLA suffered

  discrimination and harassment on basis of his age.

      103.       MR. LAVILLA challenged the decision to terminate him due to his age.

      104.       MR. LAVILLA began the process of gathering evidence to prepare a charge with

  the EEOC when he spoke with Mr. Vera and asked for the motives for his termination. Mr. Vera

  made clear MS. TISTHAMMER’s statements, which triggered an investigatory, and evidence

  gathering mission necessary to promptly and timely file a charge.

      105.       MR. LAVILLA did promptly file a charge.

      106.       These acts all constituted protected activity under the FCRA, chapter 760.

      107.       MR. LAVILLA was fired by MDPR and the termination was directly and

  proximately caused by MR. LAVILLA’s complaints about unlawful age discrimination.

      108.       Moreover, MR. LAVILLA’s termination came just in temporal proximity after

  MR LAVILLA participated in protected activity.

      109.       As a direct and proximate result of MDPR’s intentional conduct, MR. LAVILLA

  suffered serious economic losses as well as mental pain and suffering.

      110.       Any alleged nondiscriminatory reason for terminating MR. LAVILLA asserted by

  Defendant is a mere pretext for the actual reason for termination, MR. LAVILLA’s complaints

  of discrimination and harassment on basis of his age.




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      111.        MDPR’s actions were malicious and were recklessly indifferent to MR.

  LAVILLA’s rights protecting a person from discrimination due to their age and retaliation due to

  their complaints of unlawful discrimination. Retaliation on the basis of having engaged in

  protected activity constitutes unlawful retaliation.

      112.        As a result of the retaliation, MR. LAVILLA has incurred substantial monetary

  losses and has suffered emotional distress, embarrassment, and humiliation.

      113.        MDPR’s acts, through its agents, were done with malice and reckless disregard

  for MR. LAVILLA’s state protected civil rights.

      114.        MDPR is subject to vicarious liability for the actions of its supervisors and

  managers because it has failed to take adequate remedial measures to halt the discrimination,

  harassment, and retaliation to which MR. LAVILLA was subjected to despite MDPR’s

  knowledge that such discrimination, harassment, and retaliation was occurring.

      115.        As a direct and proximate result of the actions and omissions of MDPR, MR.

  LAVILLA has suffered injury and losses including a violation of her statutory rights.

  PRAYER FOR RELIEF to COUNT IV

      116.        WHEREFORE, MR. LAVILLA respectfully requests that this Court order the

  following:

               a. Enter judgment in favor of MR. LAVILLA and against MDPR for its violations

         of the FCRA;

               b. Award MR. LAVILLA actual damages suffered, including lost wages, los of

         fringe benefits, loss of retirement benefits, and damages;




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           c. Award MR. LAVILLA compensatory damages under the FCRA for

        embarrassment, anxiety, humiliation, and emotional distress MR. LAVILLA has suffered

        and continues to suffer;

           d. Award MR. LAVILLA prejudgment interest on his damages award;

           e. Award MR. LAVILLA punitive damages according to proof;

           f. Award MR. LAVILLA reasonable costs and attorney’s fees such as remedies for

        same available under the FCRA, chapter 760, in a manner consistent with federal case

        law interpreting Title VII, pursuant to FLA. STAT. § 760.11(5) (2014); and

           g. Grant MR. LAVILLA such other and further relief as this Court deems equitable

        and just.

  JURY TRIAL DEMAND

        MR. LAVILLA demands a trial by jury of all issues so triable.

        Dated: December 28, 2017

                                             Ramon Guillen, Jr. /s/
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